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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
 3   Gina Cora
     Luca Marzorati
 4     (admitted pro hac vice)
     DAVIS POLK & WARDWELL LLP
 5   450 Lexington Avenue
     New York, New York 10017
 6
     Telephone: (212) 450-4000
 7   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 8            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 9            gina.cora@davispolk.com
              luca.marzorati@davispolk.com
10
     Micah G. Block (SBN 270712)
11
     DAVIS POLK & WARDWELL LLP
12   1600 El Camino Real
     Menlo Park, California 94025
13   Telephone: (650) 752-2000
     Facsimile: (650) 752-2111
14   Email: micah.block@davispolk.com
15   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
16

17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Motion for Partial Summary Judgment (the “Summary Judgment

 5   Motion”), the Declaration of Micah G. Block in Support of Plaintiffs’ Summary Judgment motion

 6   (the “Block Declaration”), certain exhibits thereto, the Declaration of Meghan Andre in support of

 7   Plaintiffs’ Motion for Partial Summary Judgment (the “Andre Declaration”), and the exhibit thereo,

 8   should be sealed.

 9          Plaintiffs’ Summary Judgment Motion, the Block Declaration, certain exhibits thereto, the

10   Andre Declaration, and the exhibit thereto, contain references to, or derive from, documents that

11   NSO and/or nonparties E-Tel, Joshua Shaner, and Terrence DiVittorio have designated as

12   Confidential or Highly Confidential-Attorneys’ Eyes Only pursuant to the Stipulated Protective

13   Order (Dkt. No. 132) in the above-captioned action and/or previously sought leave to file under seal.

14   Accordingly, Plaintiffs now move the Court to consider whether such references in Plaintiffs’

15   Summary Judgment Motion, the Block Declaration, certain exhibits thereto, the Andre Declaration,

16   and the exhibit thereto should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs specifically

17   reserve the right to challenge any confidentiality designations as well as the sealability of the

18   materials at issue.

19          This motion and copies of any relevant attachments will be served on all non-parties by email,

20   since they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
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 1    Dated: September 27, 2024                  Respectfully Submitted,

 2                                               DAVIS POLK & WARDWELL LLP
 3
                                                 By: /s/ Craig T. Cagney
 4
                                                     Greg D. Andres
 5                                                   Antonio J. Perez-Marques
                                                     Craig T. Cagney
 6                                                   Gina Cora
                                                     Luca Marzorati
 7                                                     (admitted pro hac vice)
 8                                                   DAVIS POLK & WARDWELL LLP
                                                     450 Lexington Avenue
 9                                                   New York, New York 10017
                                                     Telephone: (212) 450-4000
10                                                   Facsimile: (212) 701-5800
                                                     Email: greg.andres@davispolk.com
11                                                           antonio.perez@davispolk.com
12                                                           craig.cagney@davispolk.com
                                                             gina.cora@davispolk.com
13                                                           luca.marzorati@davispolk.com

14                                                       Micah G. Block (SBN 270712)
                                                         DAVIS POLK & WARDWELL LLP
15
                                                         1600 El Camino Real
16                                                       Menlo Park, California 94025
                                                         Telephone: (650) 752-2000
17                                                       Facsimile: (650) 752-2111
                                                         Email:     micah.block@davispolk.com
18
                                                         Attorneys for Plaintiffs WhatsApp LLC and
19
                                                         Meta Platforms, Inc.
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